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                   EXHIBIT “D”
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        WVOMYO/LMg3NO`V1M2f3]-MM3U0X01Q3hLa-3eMY0/1M[-3NO`V1M23
3 ]OQL[2f3                    NO`V1M23WVOMYO/-b3hLa-3eMY0/1M[-3^g-MXY3]/Oa-YYLOM1Q3hL1.LQLX233
3 ]OQL[23i0`.-/f3 UJhUj]hN^7775k3
3 ]OQL[23]-/LObf3 ^0g0YX3S6347443XO3^0g0YX3S63474l3
        NQ1L̀1MXf33 3 ]10Q3m3U1/L-3,/L-b`1M3
        h1M[-/3NQ1L̀3iOcf33 5SRk573
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[1VXLOM-b3̀1XX-/3OM3.-Z1Qa3Oa3U1/\-Q3^`-/L[1M3LMY0/1M[-3NO`V1M23pqU^eNrsc3
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u-31/-3P/LXLMg3XO3Y0VVQ-`-MX3O0/3V/LO/3Q-XX-/3Oa3^0g0YX3j63474l63aO/3XZ-31.OK-3/-a-/-M[-b3̀1XX-/c33u-3
1[\MOPQ-bg-3/-[-LVX3Oa3XZ-3v`-/g-M[23UOXLOM3aO/3w-`VO/1/23d-YX/1LMLMg3x/b-/31Mb3NO`VQ1LMX3aLQ-b3
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QLa-3LMY0/1M[-3VOQL[23pXZ-3qNQ1L̀rsc33O03Z1K-31Y\-b3U^eN3XO3V/OKLb-3[OK-/1g-30Mb-/3XZ-31.OK-3
/-a-/-M[-b3VOQL[23pXZ-3q]OQL[2rs3aO/32O063^Mb/-P31.YOM631Mb3U1/[Z3,Pb63hhN3a\13Uu-1QXZ3
^bKLYO/Yc33^Y3bLY[0YY-b3a0/XZ-/3LM3XZLY3Q-XX-/632O063^Mb/-P31.YOM631Mb3U1/[Z3,Pb63hhN3a\13
Uu-1QXZ3^bKLYO/Y31/-3[OMYLb-/-b3eMY0/-bY30Mb-/3XZ-3]OQL[23XO3XZ-3-X-MX3bLY[0YY-b3Z-/-LMc333
3
1Y-b3OM3h1M[-/¡Y31Mb3U^eN¡Y3/-KL-P3Oa3XZ-3NO`VQ1LMX63XZ-3]OQL[2631Y3P-QQ31Y3bO[0`-MX1XLOM31Mb3
a1[XY3V/OKLb-b3.232O063h1M[-/31Mb3U^eN3/-g/-X3XO3LMaO/`32O03XZ1X3U^eN3̀0YX3b-[QLM-3[OK-/1g-3aO/3
XZLY3NQ1L̀3aO/32O063^Mb/-P31.YOM631Mb3U1/[Z3,Pb3hhN63a\13Uu-1QXZ3^bKLYO/Yc33^Y3LY3-VQ1LM-b3
`O/-3XZO/O0gZQ23Z-/-LM63P-3Z1K-3[OM[Q0b-b3XZ1X3XZ-3NQ1L̀3̀1b-3.23XZ-31.OK-3/-a-/-M[-b3NQ1L̀1MXY3
LY3MOX3PLXZLM3XZ-3Y[OV-3Oa3[OK-/1g-3Oa3XZ-3]OQL[2c33wZ-/-aO/-63U^eN3LY3MOX3/-¢0L/-b3XO3b-a-Mb3O/3
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11!535554831585374154!55-81435635$11759531!5845&5.5*5
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8941!5521751534159171515!5512*5%33845!8 75754!53!51521585
1534159515%33845935159171583458515345535*51758751045%33845#15
71359171585153!534571353443459359585157741!54!54!1!5785
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#15634514!1!55734557411!59815315835875158515345(817505
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3455/85851741!51715958158758531593515634+53415
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71355'4587!175853!3"15157135145156345115854!5845!231!5
15851165713534434517231578534#75$31534415584551571158515
          Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 4 of 12

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"34#755.85338451'38458754195$571515'34585/845875-7!595++65
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                 7GKA@I@H;AG6>GK@8_5`58545ZLG<A5875XGL@?AGKG_6XG:KG?G<A;A@JGa5!15
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                 .8315$56351895875734'545h1415i18734'5)173853$5
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          Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 5 of 12

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          Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 6 of 12

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                 $857 589599:5=782315$$593$57110$5$85>10$3845?5545
                 ;582150534323595147815345$15=1445@$5A3#15
                 B47401568C45848715177875458C338453474015
                 7817C5$5$15$3C158#53D17571$371C14$5333$58751$535
                 8$17931508217154175$15=8305#8755,4.*-5453#5$150$5875
                 1115E)'!3F4+6"(5875G!"))4."H+E)'!3F4+6"(58007715
                 73875$850571$371C14$5333$58751$:5
5
            I55 453432359859545!"558#5$151##10$3215$158#5$35
                 =83059815084$70$5$17C34$1593$5$15%&'!(')*!+,'-&.!/5
                 73415$152'4*6/+2)*'H5 $584 5#875=78#13845>1723015
                 71417154175$151#343$38458#52)'3((*'!.4+%)5*6(595455
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      K++ G!(F)H5C14L55
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            M55 45!"589455053455617$3#30$15N#5B47401:5
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            O55 5P.!.*!+!"589455053455617$3#30$15N#5B47401:5
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            Q5 55R *(")H+R &)(!"."*5589455053455617$3#30$15N#5
                 B47401:5
5
            S55 508787$38457$417358758$175341514$3$589415 545345
                 930545!"T+P.!.*!+!"5875R *(")H+R &)(!"."*55
                 545894173534$171$5875345930545!"T+P.!.*!+!"5
                 875R *(")H+R &)(!"."*5535451C8115$581 593$5
                 7110$5$85$15333$58#50587143U$384553$573158$58#545
                 !"T+P.!.*!+!"5875R *(")H+R &)(!"."*55714173415
                 8#5875#33415$857141752)'3((*'!.4+%)5*6(:5682171151714175
                 548$515##8715#875450$58751115E)'!3F4+6"5875
                 P.!.- !"+E)'!3F4+6"58#50587143U$3845$5584 5
                  5$855,4.*-57334158$58#5$150$58751115E)'!3F4+6"5
                 8#545!"5875R *(")H+R &)(!"."*55875$15P.!.- !"+
                 E)'!3F4+6"58#55P.!.*!+!":5
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            V55 5178450$34158451#58#545!"5P.!.*!+!"5875
                 R *(")H+R &)(!"."*55985958753557$41758##30175
        Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 7 of 12

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                 875(!&)#!*!+'(!,*!)!"#%#&-!587515341514358545 !"#5
                 $%"%&"' !"#5875(!&)#!*!+'(!,*!)!"#%#&-!57823155
                 17845354855758545.145.14175.14587571.31715
                 71711432158475935453474158458757817/
                 11754584 5935711585150*12!))&1"%3'4!*-&5!)58545
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          :855 ;15833384515875172334.5851588934.95
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                 %855 <3153474153145451534741584./175715
                         34741598717=58143845347415575855/
                         875314545153474157853335
                         348153474153>15443315875341>154433165
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                 ?855 @73 153474157853434.55485331585
                         273 154433151>315451157135443315
                         45273 153153474165
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                 5855 A545571571.3171593515BC6545873D15
                         87578215 5453731578.55781758751175
                         53551 17585EFGH65
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                 +855 4!5I*&#&!)5J817545273 15443315273 15315
                         3474154554K55715873D1587578215
                            515L*1M!*NO!%3!*5337585154,1")1*&"'
                         P1Q,%"R587557157811578.515L*1M!*NO!%3!*5
                         337585154,1")1*&" 'P1Q,%"R5
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          S855 ;158333845158753437384585181151413545
                 817545A315C8175T1715H774.1145J513415 5
                 15C8115G1371145E4815B1735H585UVW54545
                 141451718K53434.5.78545.785875873475
                 1438458757835734.5457137114544331545315
                 31454515875333545
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          X855 G141734.5172315554875 35
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          Y855 344354434.5584 535178715371 534584Z43845
                 93515158333845875172334.5851578571171415345
                 [7.7508:854508'S858215
          Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 8 of 12

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          !"#$%&'14(5541)3)14*5+*58758'3((384534+,34)55-./0#
                12"3$%&4+8''3**1,5 5451/".5345*615714,1734)58758757334)5*85714,175
                -!.//80#9.:8%./*855+314*5
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;615<83+5,17343*3845875=4(71,534+,1(5*615>)14*?5*615(341((514*3*58941,5 54,5345963+65*615
>)14*56(54589417(63534*171(*58753(5451'8115875*615(341((514*3*?54,5517(845+*34)5845
  1675875*615>)14*596853(557*4175875*615>)14*5*5(81 593*6571(1+*5*85*615333*5875(+65
  (341((58757*417517787'34)58757334)5*85714,175<7871((3845@1723+1(58451675875*615>)14*55;615
<83+5,17341(5<7871((3845@1723+1(5*8534+,1(5*615(83+3**3845(15875(1723+34)5875371534(74+15875
8*617578,+*(54,5(1723+1(5(5,1(+731,5345*6158215,17343*384555
5
A17158501234567891571545>)14*5(58511+*1,5*85147857875+8217)154,175*63(5<83+513*6175
*5*61534+1*3845,*15875*615<83+5<1738,587573875*85*6151B37*3845,*15875*615<83+5<1738,54,5
968(151478'14*53(5845731593*65*615@84(8734)568'454,5*617178715'11*5*615,17343*384587545
=4(71,54,175*615<83+5*85*6151B*14*5859171517787'34)5<7871((3845@1723+1(5(5,17341,5C875
  (341((514*3*5875963+6585715458941754,57*41753(5D7+659,5EE654,5875(341((57*4175
3(5F(845>(5(+658*65D7+659,5EE654,5F(845175*85G375(5=4(71,(54,175*615<83+5
  *584 593*6571(1+*5*8545333*5875*615(341((58757*417534517787'34)58757334)5*85714,175
<7871((3845@1723+1(5(5,17341,5 5*615<83+555
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;61568'34*51)1(5*6*5854,5F(845+8''3**1,5H784)75>+*(5(51'811(5875D7+659,5
EE655;615H784)75>+*(51)1,5345*61568'34*573(153457*5778'51)*384(5*6*5F(845(5
(3)41,5578'3((87548*157875571'3'57344+34)58458451675875*61563'4*(55;615,17343*3845875
<7871((3845@1723+1(534+,1(5*615(83+3**3845(15875(1723+34)5875371534(74+1583+31(568912175
(5,3(+((1,51895IB+(3845J5345*615<83+571+,1(5+8217)15787578'3((87548*1(55;615
78'3((87548*15(3)41,5 5F(84571*1,5*85*61571'3'57344+34)58457875*615371534(74+1583+55
>(5(+65*615(3)434)5875*61578'3((87548*15,81(548*5+84(*3**15<7871((3845@1723+1(54,175*615<83+55
>++87,34) 545=4(71,5K5012345678915F(845875D7+659,5EE65K5342821,5345*615(3)434)5875
*61578'3((87548*1598,548*515+84(3,171,545=4(71,54,175*615<83+534571*3845*85*615(3)434)5875
*61578'3((87548*15
5
;85*6151B*14*5*6*585(545>)14*59171548*517787'34)5<7871((3845@1723+1(5875*6*5F(8454,5
D7+659,5EE6571548*5=4(71,(58759171548*517787'34)5<7871((3845@1723+1(5(5,17341,5345*615
<83+5D>=6571(1721(5*61573)6*5*85,1+3415*85,1714,54,534,1'437585(5*85*61563'55
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;615<83+5+84*34(5*615788934)5IB+(384(L55
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9MNO1PQR1SMTNU91PQ9
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;63(5<83+5(6548*5 5*854,5*6151/".5(655413*6175V0W0./54875N#08W
MXY././5787545N#08WL5
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          Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 9 of 12

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         55 73345858515845875345!841"14!1585371!587534371! 5
               7134578#587534545953428234$5
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               %55 &78#38754815233!587531511#1453428234517#34 535
                       !3145345!!874!1593'5'151343384585(17#34 53)5 5'15
                       7112451587545*+,-./0/+15!215 578#38754815875!'5
                       233!511#1435
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45!38456571!15!8217158754563#57334578#587534545953428234578#387548155
7'1568#34573153457578#513845'588453415578#38754815875571#3#5
344!34584593'5'1563#4557487585'1584545'5'3595441!17545
44111555'1563#5731585853515845875345!841"14!1585371!587534371!5
7134578#58753454595342821578#3875481545!38456531585'35#1755855
947155!!8734 545!38456531545:9651!34158511454585341#43585
47195884545:7!'59 5;;65<2<5:=1'5 23875585'1563#5
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>0?+.@ABC+.DE+@F11-+1G@
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'8'5:96545;4!175131215'15821515143585!8217154175'15&83!58515
!84!3215585!8217159151312153535714585795875143845858'175!821715315
711415 5'1563#5
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  134151895 58'17517#5'5'215'815#14345!8##84 5417885 5
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         O@@ APD/Q@HRS+T1+15#1457184 154541!175#84534!7715 5'15
               FT1-.+.5875 5'15FT1-.+U593'5'1573875973145!8414585'15FT1-.+.5345
               '1511415855APD/Q5'535!8217154175'35&83!534!3458741V5
               115!8585342133845!8758757373845!854571#3#5875
               15!'#1458753#3758457'15FT1-.+.5'89121753548571"3715
               85782315!'5845APD/Q@HRS+T1+158548534!15'159157315
               115875!8585'15371!87583!1751#8115717114321534W'815
               !841514587517245854594715
5
63#5451415351341557184 154541!175#84534!7715345'151141585563#5
'535!8217154175'35&83!55X85'215713415!841555'35#17535485!8217154175'15
         Case 2:24-cv-01438-JS Document 1-4 Filed 04/05/24 Page 10 of 12

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 14155!8734" 5#!$6593548515713 734"54511415347715
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       %&'' ()*)+,-514584175."145111458759757134"57855
              /0)1*5()*)+,-5854853415158 8934"25
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              3&55 415341587514315415347715 55345451575
                     855/0)1*5"3454556-78,9:5
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              ;&55 <4332158751175"1:5
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              =&55 41533158738458553315"1597:5
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              >&55 415717457133845713845878315875714585
                     8338451158757"1:5
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              ?&55 6853477155571585484@841751787587534.43215
                     7131:5
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              A&55 !45175571511154347 154175159:545
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              B55 635 1415
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<835#!$6571172151573"5857115853414358558515635
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435<8355485 5854515$4717555413175()*)+,-54875/0)1*'
FOP,6-,-587545/0)1*25
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                                              DDD5
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       (&55 !7334"5858515845875345841Q141585371587534371 5
              7134"578587534545953428234"5425
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              3&55 !58751"1538415781533857145875
                     733455875935238384585451175158758515
                        551537138458587593515R4891"15854556-78,9:5875
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                       "#$%&'(53)54851 514315
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               *891217515"#$%&'&5)5!8434158511455+,-./51345458515
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375!75%34373845875$7'15%17345&4741568455
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